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       Fill in this information to identify your case:                                                                     Check as directed in lines 17 and 21:

                       nfll {_fJ t-.t:.vt-                                                                                 According to the calculations required by
       Debtor 1


      Debtor2
                          Firsr,J,;e


      (Spouse, if filing) First Name
                                                  Middle Name


                                                  Middle Name           Last Name
                                                                                                                          °"
                                                                                                                           this Statement:

                                                                                                                                  1. Disposable income is not determined
                                                                                                                                     under 11 U.S.C. § 1325(b)(3).

      United States Bankruptcy Court for the:50<17 /rJlf;r&ltf IJS7Pilc:r f {((I 1/lf-'                                   D 2. Disposable income is determined
                                                                                                                                    under 11 U.S.C. § 1325(b)(3).
      Case number
      (If known)
                           ,;l,J -      f 6 7 0 6 "" fl} A                                                                'ii(J3. The commitment period is 3 years.
                                                                                                                          0 4. The commitment period is 5 years .
                                                                                                                                                      •
                                                                                                                          D Check if this is an amended filing

     Official Form 122C-1
     Chapter 13 Statement of Your Current Monthly Income
     and Calculation of Commitment Period·                                                                                                                  04/20
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
     more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
     top of any additional pages, write your name and case number (if known).


                       Calculate Your Average Monthly Income

     1. What is your marital and filing status? Check one only.
       ~ Not married. Fill out Column A, lines 2-11.
        0 Married. Fill out both Columns A and B, lines 2-11.
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
         the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
         from that property in one column only. If you have nothing to report for any line, write $0 in the space.

                                                                                                           Column A                    ColumnB
                                                                                                           Debtor 1                    Debtor 2 or
                                                                                                                                       non-filing spouse

     2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
         payroll deductions).                                                                               $                             $,_ _ __

                                                                                                            $                             $._ _ __
     3. Alimony and maintenance payments. Do not include payments from a spouse.

     4. All amounts from any source which are regularly paid for household expenses of
        you or your dependents, including child support. Include regular contributions from
        an unmarried partner, members of your household, your dependents, parents, and
        roommates. Do not include payments from a spouse. Do not include payments you
        listed on line 3.                                                                                   $                             $._ _ __

     s. Net income from operating a business, profession, or           Debtor 1      Debtor 2
         farm
         Gross receipts (before all deductions)                          $-11'd!P $ _
         Ordinary and necessary operating expenses                     - $ p..1rJ - $_ _

                                                                                                 Copy                     (}")
         Net monthly income from a business, profession, or farm         $/1.~ Cl     $_ _ here ➔          $ ('.'.Y.,..     V           $,_ _ __


     6. Net income from rental and other real property                 Debtor 1      Debtor 2

         Gross receipts (before all deductions)

         Ordinary and necessary operating expenses




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                                                                                                                            i-h
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       Debtor 1           6frl-lfr t f.Vi.
                            First Name               Middle Name
                                                                                          5{}-)-1/)~AS, :5A
                                                                                       Last Name                                /
                                                                                                                                                                        Case number (if known)



                                                                                                                                                                       Column A                    ColumnB
                                                                                                                                                                       Debtor 1                    Debtor 2 or
                                                                                                                                                                                                   non-filing spouse

      7. Interest, dividends, and royalties                                                                                                                             $   (2,{}0                   $  MIJ. Jmr,IJL
      a. Unemployment compensation                                                                                                                                      $       d ,:JO               $_ _ _ __

          Do not enter the amount if you contend that the amount received was a benefit under
          the Social Security Act. Instead, list it here: ........................................ "'-

              For you ....................................................................................             $
              For your spouse.....................................................................                     $_ _ _ _ __

      9. Pension or retirement income. Do not include any amount received that was a
          benefit under the Social Security Act. Also, except as stated in the next sentence, do
          not include any compensation, pension, pay, annuity, or allowance paid by the United
          States Government in connection with a disability, combat-related injury or disability, or
          death of a member of the uniformed services. If you received any retired pay paid
          under chapter 61 of title 10, then include that pay only to the extent that ii does not
          exceed the amount of retired pay to which you would otherwise be entitled if retired
                                                                                                                                                                                                    $_ _ _ __
          under any provision of title 1O other than chapter 61 of that title.                                                                                         $

     10. Income from all other sources not listed above. Specify the source and amount. Do
         not include any benefits received under the Social Security Act; payments made under
         the Federal law relating to the national emergency declared by the President under the
         National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
         disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
         against humanity, or international or domestic terrorism; or compensation, pension, pay,
         annuity, or allowance paid by the United States Government in connection with a
         disability, combat-related injury or disability, or death of a member of the uniformed
         services. If necessary, list other sources on a separate page and put the total below.
                                                                                                                                                                                                    $_ _ _ _ _

                                                                                                                                                                                                    $_ _ _ __

            Total amounts from separate pages, if any.                                                                                                                                            +$_ __

     11. Calculate your total average monthly income. Add lines 2 through 1O for each
          column. Then add the total for Column A to the total for Column B.                                                                                      [_ $      fit~zJ+[$ a,w I=~
                                                                                                                                                                                                                       ~
                                                                                                                                                                                                                       monthly income



                         Determine How to Measure Your Deductions from Income

     12. Copy your total average monthly income from line 11 . ........................................................................................................................

     13. Calculate the marital adjustment. Check one:                                                                   .

         ~You are not married. Fill in O below.

         b-You are married and your spouse is filing with you. Fill in O below.
         D You are married and your spouse is not filing with you.
                Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of
                you or your dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than
                you or your dependents.
                Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary,
                list additional adjustments on a separate page.

                If this adjustment does not apply, enter O below.

                                                                                                                                                                            $_ _ _ __
                                                                                                                                                                            $_ _ _ _ _

                                                                                                                                                                       +$_ _ _ __

               Total················································································································································   I (I}.,. 0 d I
                                                                                                                                                                            $                    Copy here+



     14. Your current monthly income. Subtract the total in line.13 from line 12.

      Official Form 122C-1                              Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                              page2
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  Debtor 1



 15. Calculate your current monthly income for the year. Follow these steps:

      15a. Copy line 14 here+ .........................................................................................................................................................................................

              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                                              x 12
      15b. The result is your current monthly income for the year for this part of the form .................................................................................... ,                                                   $   I   3 I afl: ·;;l.
16. Calculate the median family income that applies to you. Follow these steps:

     16a. Fill in the state in which you live.                                                                   fl
     16b. Fill in the number of people in your household.                                                          I
      16c. Fill in the median family income for your state and size of household...............                                                                  .. .......................................................... ..
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk's office.

17. How do the lines compare?

      17a.   D Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                     11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.   D Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2).
                    On line 39 of that form, copy your current monthly income from line 14 above.

                       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)


18. Copy your total average monthly income from line 11 . ............................................................................................................................

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
    calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse's income, copy
    the amount from line 13.
     19a. If the marital adjustment does not apply, fill in O on line 19a ..............................................................................................


     19b. Subtract line 19a from line 18.


20. Calculate your current monthly income for the year. Follow these steps:


     20a. Copy line 19b ...............................................................................................................................................................................................

                                                                                                                                                                                                                                    x$~.,..
              Multiply by 12 (the number of months in a year).


     20b. The result is your current monthly income for the year for this part of the form.
                                                                                                                                                                                                                                    l,r~,
     20c. Copy the median family income for your state and size of household from line 16c..................................................................... ..
                                                                                                                                                                                                                                    I $s1Gs"l
21. How do the lines compare?


     ~ine 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
       The commitment period is 3 years. Go to Part 4.




     D Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
           check box 4, The commitment period is 5 years. Go to Part 4.




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Debtor 1                                                                                      Case number(itknown)1_ _ _ _ _ _ _ _ _ _ _ _ __
             First Name    Middle Name        Last Name




           Sign Below


                                                      I declare that the information on this statement and in any attachments is true and correct.

            X                                                                       X
                                                                                        Signature of Debtor 2


                                                                                        Date _ _ _ _ _ __
                                                                                             MM/    DD    /YYYY


           If you checked 17a, do NOT fill out or file Form 122C-2.
           If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




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